                 United States Court of Appeals
              For The District of Columbia Circuit
                                
                                
                                
No. 98-3135                                  September Term, 1999
                                                     98cr00041-01

United States of America,
          Appellee

             v.

Rachel L. Breedlove,
          Appellant



     BEFORE:   Silberman, Ginsburg and Henderson, Circuit Judges 

                            O R D E R

     It is ORDERED, by the Court on its own motion, that the opinion, judgment and
order concerning the mandate filed herein on December 10, 1999 be, and the same
hereby are, vacated.

                            Per Curiam

FOR THE COURT:
Mark J. Langer, Clerk



Filed on February 7, 2000